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                    IN THE UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE


IN RE                               ) Chapter 11
                                    )
LORDSTOWN MOTORS CORP., et. al.,1 ) Case No. 23-10831-MFW
                                    )
                  Debtors.          ) (Jointly Administered)
                                    )
                                    ) Hearing Date: Mar. 14, 2024 at 3:00 pm (ET)
____________________________________) Response Due: Mar. 7, 2024 at 4:00 pm (ET)

      MOTION OF THE U.S. SECURITIES AND EXCHANGE COMMISSION FOR
        ORDER FURTHER EXTENDING TIME TO TAKE ACTION, TO THE
      EXTENT NECESSARY, TO DETERMINE THE DISCHARGEABILITY OF A
      DEBT TO A GOVERNMENTAL UNIT PURSUANT TO 11 U.S.C. § 1141(d)(6)

        The U.S. Securities and Exchange Commission (the “Commission”) files this motion

(the “Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A (the

“Proposed Order”), further extending the date by which the Commission must file a

complaint or take any other action that may be required, if any, to determine the

dischargeability of a debt pursuant to Section 1141(d)(6) of the Bankruptcy Code, to March 18,

2024, without prejudice to the Commission’s right to seek further extensions, and without

prejudice to the rights of other parties in interest to oppose any such extensions. In support of

this Motion, the Commission respectfully states as follows:




1
       The Debtors and the last four digits of their respective federal tax identification
numbers are: Lordstown Motors Corp. (3229); Lordstown EV Corporation (2250); and
Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech Ct.,
Farmington Hills, MI 48331.

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                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1334. This

Motion is a core proceeding within the meaning of 28 U.S.C. §157(b)(2)(A). Venue is proper

in this district pursuant to 28 U.S.C. §1409(a).

       2.      The statutory predicates for the relief requested herein are Sections 523(c) and

1141(d)(6) of the Bankruptcy Code and Rules 4007(b) and (c) of the Federal Rules of

Bankruptcy Procedure, to the extent applicable.

       3.      The Commission does not consent to the entry of final orders or judgments for

any matters for which the Court may not, consistent with Article III of the United States

Constitution, enter final orders or judgments absent consent of the parties.

                                        BACKGROUND

       4.      On June 27, 2023, the above-captioned debtors (collectively, the “Debtors”)

each filed a voluntary petition for relief under Chapter 11 of the United States Bankruptcy

Code. The Debtors have continued in possession of their assets and have continued to operate

and manage their business as debtors-in-possession pursuant to Sections 1107(a) and 1108 of

the Bankruptcy Code.

       5.      On July 11, 2023, the Office of the United States Trustee appointed the Official

Committee of Unsecured Creditors (the “Creditors’ Committee”) pursuant to Section

1102(a)(1) of the Bankruptcy Code [ECF Nos. 96 and 99].

       6.      On September 7, 2023, the Office of the United States Trustee appointed the

Official Committee of Equity Security Holders (the “Equity Committee”) pursuant to Section

1102(a)(1) of the Bankruptcy Code [ECF No. 375].



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       7.       On July 10, 2023, the Office of the United States Trustee filed a notice [ECF

No. 94] scheduling the Section 341 meeting of creditors in this case for August 4, 2023.

       8.      The Notice of Chapter 11 Bankruptcy Case filed on July 11, 2023 [ECF No. 98]

provides that the deadline for filing a complaint to except a debt from discharge under Section

523(c) of the Bankruptcy Code will be a date “[t]o be determined.” [ECF No. 98 at p.2, Box 8].

       9.      The Commission staff believes that Section 523(c) (and corresponding deadline

in Bankruptcy Rule 4007(c)) is inapplicable with respect to the dischargeability of a debt under

Section 1141(d)(6). In In re Hawker Beechcraft, Inc., 515 B.R. 416 (S.D.N.Y. 2014), the

district court held Section 1141(d)(6) is self-effectuating, and thus, is not subject to the

deadline to file a nondischargeability complaint set forth in Rule 4007(c).

       10.     If Rule 4007(c) were to apply to actions under Section 1141(d)(6), then the

initial deadline in these cases would have been 60 days from the August 4, 2023 meeting of

creditors, or October 3, 2023. Without binding precedent in this Circuit, the Commission

previously sought and obtained extensions of the Rule 4007(c) deadline, to the extent

applicable. The most recent extension was granted to February 15, 2024, without prejudice to

the Commission’s right to seek further extensions or the rights of other parties to oppose such

extensions. [ECF No. 951 at ¶2].2 For the reasons discussed below, the Commission now seeks

a further extension of that date to March 18, 2024.




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       The Order also provides that nothing therein constitutes a determination that any
deadline exists for the Commission to seek a determination of nondischargeability under
Section 1141(d)(6) of the Bankruptcy Code. [ECF No. 951 at ¶3].

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                                     RELIEF REQUESTED

          11.    The Commission requests entry of an order extending the date by which the

Commission must file a complaint or take any other action that may be required, if any, to

determine the dischargeability of a debt pursuant to Section 1141(d)(6) of the Bankruptcy

Code, to March 18, 2024, without prejudice to the Commission’s right to seek further

extensions, and without prejudice to the rights of other parties in interest to oppose any such

extensions.

                              BASES FOR RELIEF REQUESTED

          12.    Section 1141(d)(6) of the Bankruptcy Code excepts from discharge certain debts

owed by a corporate debtor to a domestic governmental unit.3 Specifically, that Code provision

states:

          (6) Notwithstanding paragraph (1), the confirmation of a plan does not discharge a
          debtor that is a corporation from any debt –

                 (A) of a kind specified in paragraph (2)(A) or (2)(B) of section 523(a) that is
                 owed to a domestic governmental unit, or owed to a person as the result of an
                 action filed under subchapter III of chapter 37 of title 31 or any similar State
                 statute…

11 U.S.C. §1141(d)(6)(A).

          13.    The Commission believes that Section 1141(d)(6)(A) is self-effectating and is

not governed by the procedures and deadlines set forth in Section 523(c)(1) of the Banrkuptcy

Code and Fed.R.Bankr.P. 4007(c). Section 523(c)(1) provides, in part, that the debtor is

discharged from a debt of a kind specified in Section 523(a)(2) unless the creditor files a



3
       The Commission is a “domestic governmental unit” within the meaning of Sections
101(27) and 1141(d)(6) of the Bankruptcy Code (defined to include any department, agency or
instrumentality of the United States).

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complaint for a determination that the debt is excepted from discharge under Section 523(a)(2).

Bankruptcy Rule 4007(c) sets the deadline for filing such a complaint of no later than 60 days

after the meeting of creditors. Fed.R.Bankr.P. 4007(c). That deadline may be extended by the

court for cause. Id.

       14.     Although Section 1141(d)(6) references Section 523(a)(2) as the type of debt

excepted from discharge in a corporate Chapter 11, the court in In re Hawker Beechcraft, Inc.,

515 B.R. 416 (S.D.N.Y. 2014) held that none of the procedural components of Section

523(a)(2) were incorporated into Section 1141(d)(6)(A). According to the Hawker Beechcraft

court, Section 1141(d)(6)(A) is self-effectuating, and thus, is not subject to the deadline to file a

nondischargeability complaint set forth in Rule 4007(c). Rather, an action under Section

1141(d)(6) falls under Rule 4007(b) and “may be filed at any time.” Fed.R.Bankr.P. 4007(b).4

       15.     In addition, over the past several months, the Commission staff has engaged in

numerous discussions with the Debtors, Creditors’ Committee, Equity Committee and other

constituencies to resolve plan issues, including resolutions that would make it unnecessary for

the Commission to seek a nondischargeability determination in this case. As set forth in the

Debtors’ Form 8-K filed on February 1, 2024,5 the Debtors have submitted an offer of

settlement to resolve the Commission’s claims against the Debtors. Granting the requested

extension would give the parties the time needed to finalize the settlement, while also


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         The Notice of Chapter 11 Bankruptcy Case filed on July 11, 2023 [ECF No. 98] set the
Meeting of Creditors for August 4, 2023, but did not set a deadline for filing nondichargeability
complaints in accordance with Rule 4007(c). Instead, the notice provides that the deadline for
filing a complaint to except a debt from discharge under Section 523(c) of the Bankruptcy
Code will be a date “[t]o be determined.” [ECF No. 98 at p.2, Box 8]. No deadline for filing
such a complaint has since been set in this case.
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       https://investor.lordstownmotors.com/static-files/14099721-ccc4-4439-9539-a8518008c90f



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preserving the Debtors’ limited resources that would otherwise be required to litigate

dischargeability matters at this time. As such, the Commission believes that cause exists to

extend the Rule 4007(c) deadline, to the extent applicable, to March 18, 2024 for the

Commission to seek a determination of nondischargeability under Section 1141(d)(6).

                                             NOTICE

       16.     The Commission is providing notice of this Motion to the following parties in

accordance with Local Rule 2002-1(b): (1) counsel for the Debtors; (2) the United States

Trustee; (3) counsel for all official committes; and (4) all parties who filed a request for service

of notices under Fed.R.Bankr.P. 2002(i).




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                                         CONCLUSION

       The Commission seeks entry of an order, substantially in the form of the Proposed

Order attached hereto as Exhibit A, extending the date by which the Commission must file a

complaint or take any other action that may be required, if any, to determine the

dischargeability of a debt pursuant to Section 1141(d)(6) of the Bankruptcy Code, to March 18,

2024, without prejudice to the Commission’s right to seek further extensions, and without

prejudice to the rights of other parties in interest to oppose any such extensions.


 Dated: February 15, 2024
                                      /s/ David W. Baddley
                                      U.S. SECURITIES & EXCHANGE COMMISSION
                                      David W. Baddley (admitted per L.R. 9010-1(e)(1))
                                      950 East Paces Ferry Road, N.E., Suite 900
                                      Atlanta, GA 30326-1382
                                      Telephone: (404) 842-7625
                                      baddleyd@sec.gov

                                      Counsel for U.S. Securities and Exchange Commission




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                   IN THE UNITED STATES BANKRUPTCY COURT
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IN RE                               ) Chapter 11
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LORDSTOWN MOTORS CORP., et. al., ) Case No. 23-10831-MFW
                                    )
                  Debtors.          ) (Jointly Administered)
                                    )
                                    ) Hearing Date: Mar 14, 2024 at 3:00 pm (ET)
____________________________________) Response Due: Mar. 7, 2024 at 4:00 pm (ET)


                          NOTICE OF MOTION AND HEARING

        PLEASE TAKE NOTICE that, on February 15, 2024, the U.S. Securities and Exchange

Commission filed the Motion of the U.S. Securities and Exchange Commission for Order

Further Extending Time to Take Action, to the Extent Necessary, to Determine the

Dischargeability of a Debt to a Governmental Unit Pursuant to 11 U.S.C. §1141(d)(6) (the

“Motion”) with the United States Bankruptcy Court for the District of Delaware (the “Court”).

        PLEASE TAKE FURTHER NOTICE that, any responses or objections to the Motion

must be in writing and filed with the Clerk of the Court, 824 North Market Street, 3rd Floor,

Wilmington, Delaware 19801 on or before March 7, 2024 at 4:00 p.m. (prevailing Eastern

Time) (the “Objection Deadline”). Any objection also must be served by the Objection

Deadline upon:

               U.S. Securities and Exchange Commission
               David W. Baddley
               950 East Paces Ferry Road, NE, Suite 900
               Atlanta, GA 30326-1382
               Fax: (404) 842-7633
               baddleyd@sec.gov




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       PLEASE TAKE FURTHER NOTICE that, if any objections to the Motion are received,

the Motion and such objections shall be considered at a hearing before The Honorable Mary F.

Walrath, United States Bankruptcy Judge for the District of Delaware, at the Court, 824 North

Market Street, 5th Floor, Courtroom 4, Wilmington, Delaware 19801 on March 14, 2024 at

3:00 p.m. (prevailing Eastern Time).

       PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS TO THE

MOTION ARE TIMELY FILED IN ACCORDANCE WITH THIS NOTICE, THE

COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT

FURTHER NOTICE OR HEARING.


 Dated: February 15, 2024
                                    /s/ David W. Baddley
                                    U.S. SECURITIES & EXCHANGE COMMISSION
                                    David W. Baddley (admitted per L.R. 9010-1(e)(1))
                                    950 East Paces Ferry Road, N.E., Suite 900
                                    Atlanta, GA 30326-1382
                                    Telephone: (404) 842-7625
                                    baddleyd@sec.gov

                                    Counsel for U.S. Securities and Exchange Commission




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